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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                    Chapter 7

EDUCATION MANAGEMENT II LLC,              Case No. 18-11494 (LSS)
                             Debtor.      Ref. Docket Nos. 163, 171, 173
In re:                                    Chapter 7

EDUCATION FINANCE III LLC,                Case No. 18-11499 (LSS)

                             Debtor.      Ref. Docket Nos. 13, 20, 22

In re:                                    Chapter 7

EDUCATION MANAGEMENT                      Case No. 18-11500 (LSS)
CORPORATION,
                                          Ref. Docket Nos. 15, 27, 29
                             Debtor.

In re:                                    Chapter 7

EDUCATION MANAGEMENT                      Case No. 18-11501 (LSS)
HOLDINGS II LLC,
                                          Ref. Docket Nos. 12, 20, 22
                             Debtor.

In re:                                    Chapter 7

HIGHER EDUCATION SERVICES II              Case No. 18-11503 (LSS)
LLC,
                                          Ref. Docket Nos. 12, 20, 22
                             Debtor.

In re:                                    Chapter 7

THE ART INSTITUTES                        Case No. 18-11546 (LSS)
INTERNATIONAL II LLC,
                                          Ref. Docket Nos. 12, 20, 22
                             Debtor.




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          ORDER APPROVING STIPULATION RESOLVING OBJECTION OF
      GEORGE L. MILLER, CHAPTER 7 TRUSTEE, TO PROOFS OF CLAIM FILED
      BY U.S. BANK, NATIONAL ASSOCIATION AS ADMINISTRATIVE AGENT ON
                BEHALF OF ITSELF AND EACH SECURED CLAIMANT

           Upon consideration of the Certificate of Counsel filed by George L. Miller, as interim

trustee of the above-captioned debtors (in such capacity, the “Trustee”); and upon consideration

of the Stipulation Resolving Objection of George L. Miller, Chapter 7 Trustee, to Proofs of

Claim Filed by U.S. Bank, National Association as Administrative Agent on Behalf of Itself and

Each Secured Claimant (the “Stipulation”),1 a copy of which is attached to this Order as

Exhibit 1; and the Court having determined that (i) the Court has jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334, (ii) venue is proper in this district pursuant to 28 U.S.C.

§ 1409, (iii) this is a core proceeding pursuant to 28 U.S.C. § 157(b), and (iv) notice was

sufficient under the circumstances; and after due deliberation; and good and adequate cause

appearing therefore:

IT IS HEREBY ORDERED THAT:

                    1.       The Stipulation is APPROVED as set forth herein.

                    2.       The Stipulation and this Order shall be binding upon the Parties, shall be

effective immediately, and shall not be subject to any stay under the Bankruptcy Code, the

Federal Rules of Bankruptcy Procedure, the Local Rules, or otherwise.

                    3.       Agent and Lenders are granted relief from the automatic stay pursuant to

11 U.S.C. § 362 of the Bankruptcy Code and are authorized to take any and all actions in

connection with the Collateral, including, but not limited to, collecting such Collateral.




1
    Capitalized terms not otherwise defined herein shall have their meaning as set forth in the Stipulation.
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                 4.          Upon entry of an order of the Bankruptcy Court approving this

Stipulation, any distribution by the Trustee on account of the Allowed Unsecured Claims shall be

made by the Trustee at or before the closing of the Credit Party Debtors’ cases using the

following procedure:

                 a.          the Trustee shall give ten days (10) notice of his intent to make a

                             distribution on account of the Allowed Unsecured Claims by filing a

                             “Notice of Intention to Pay Allowed Unsecured Claim” and serving same

                             on the Agent (the “Payment Notice”) and parties that have requested

                             notice pursuant to Rule 2002 of the Federal Rules of Bankruptcy

                             Procedure;

                 b.          if no objections are filed in response to the Payment Notice, the Trustee

                             shall seek the entry of an order of the Bankruptcy Court authorizing such

                             distribution by certification of counsel, which order shall authorize such

                             distribution;

                 c.          if an objection is filed in response to the Payment Notice (any

                             “Objection”), the Agent or Lenders may seek to have a hearing on the

                             Payment Notice and Objection scheduled on shortened notice in

                             accordance with the Local Rules of Bankruptcy Practice and Procedure of

                             the United States Bankruptcy Court for the District of Delaware; and

                 d.          subject to the Trustee’s fiduciary duties, the Trustee shall not oppose the

                             relief sought by, and shall cooperate with, the Agent or Lenders with

                             respect to such distributions and such hearing.




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                5.      The Court shall retain jurisdiction over any and all matters arising from or

related to the implementation or interpretation of the Stipulation or this Order.




       Dated: October 25th, 2018                      LAURIE SELBER SILVERSTEIN
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      Wilmington,57092/001
                     Delaware                     4   UNITED STATES BANKRUPTCY JUDGE
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                               EXHIBIT 1 TO ORDER




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                      IN THE UNITEO STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

Inre:                                   Chapter?

EDUCATION MANAGEMENT II LLC,            Case No. 18-11494 (LSS)
                         Debtor.

In re:                                  Chapter7

EDUCATION FINANCE III LLC,              Case No. 18-11499 (LSS)

                         Debtor.

Inre:                                   Chapter7

EDUCATION MANAGEMENT                    Case No. 18-1150() (LSS)
CORPORATION,

                         Debtor.

Inre:                                   Chapter 7

EDUCATION MANAGEMENT                    Case No. 18-11501 (LSS)
HOLDINGS II LLC,

                         Debtor.

Inre:                                   Chapter 7

HIGHER EDUCATION SERVICES II            Case No. 18-11503 (LSS)
LLC,

                         Debtor.

Inre:                                   Chapter 7

THE ART INSTITUTES                      Case No. 18-11546 (LSS)
INTERNATIONAL II LLC,

                         Debtor.




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 STIPULAT ION RESOLVIN G OBJECTIO N OF GEORGE L. MILLER, CHAPTER 7
     TRUSTEE , TO PROOFS OF CLAIM FILED BY U.S. BANK, NATIONAL
ASSOCIAT ION AS ADMINIST RATIVE AGENT ON BEHALF OF ITSELF AND EACH
                         SECURED CLAIMAN T

        This Stipulation dated as of October     f:3, 2018 (the "Stipulation") is entered into by and
among George L. Miller, as permanent chapter 7 trustee of the debtors listed on Exhibit A

attached heretQ (the "Non-Credit Party Debtors") and as interim chapter 7 trustee of the above-

captioned debtors (the "Credit Party Debtors" and, together with the Non~Credit Party Debtors,

the "Debtors") (in such capacities, the "Trustee"), and U.S. Bank, National Association ("U.S.

Bank" or "Agent" and, together with the Trustee, the "Parties"), as administrative agent and

collateral agent under that certain Credit and Guaranty Agreement, dated as of January 5, 2015

(as amended, restated, supplemented or otherwise modified from time to time, and including any
                                                                                       1
and all annexes, exhibits and schedules thereto, collectively, the "Credit Agreement"), by and

among Education Management II LLC ("EM II"), Education Management Corporation

("EMC"), Education Management Holdings II LLC ("EMH II"), certain subsidiaries of EMH II,

as Guarantors and/or Grantors (and together with         EM II, EMC and EMH II, collectively, the

"Cr~dit Parties"); the various lenders party thereto from time to time (the "Lenders"); and the

Agent. The Trustee and U.S. Bank hereby stipulate as follows:

                                              RECITALS

        WHEREAS , pursuant to the Credit Documents, U.S. Bank holds a valid and enforceable

first priority security interest in and continuing lien on each of the Grantor's right, title, and

interest to and under all of the Collateral which constitutes substantially all of the Debtors'

assets, except for Unliened Assets (as defined below).

1
 Capitalized terms used but nQt defined herein shall have the meaning ascribed to such terms in the Credit
Agreement.


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        WHEREAS, Events of Default have occurred and are continuing under the Credit

Agreement and the other Credit Documents, which defaults constitute material breaches of the

tenns and conditions of the Credit Agreement and the other Credit Documents.

        WHEREAS, as of June 25, 2018, pursuant to Section 9-620 of the New York Unifonn

Commercial Code in effect as of such date, the Credit Documents, and that certain Surrender of

Collateral, Consent to Partial Strict Foreclosure, and Release Agreement (UCC 9-620) (the

"Partial Strict Forecl9sure Agreement") by and among the Credit Parties and the Agent, (i) each

Credit Party conveyed to the Agent, at the direction of the Requisite Lenders, for the benefit of

the Lenders, any and all of its legal, equitable and beneficial possession, right, title and interest

in, to and under the Surrendered Collateral (as dd1ned in the Partial Strict Foreclosure

Agreement), including all proceeds thereof, wherever located, in partiaJ satisfaction of the

Obligations as expressly provided for in Section 5.1 of the Partial Strict Foreclosure Agreement

and the other consideration provided thereunder, and (ii) the Agent, 9n behalf of the Secured

Parties, accepted the Credit Parties' transfer of the Surrendered Collateral in exchange for the

partial satisfaction of the Obligations by reducing the Obligations by $13,000,000, as expressly

provided for in Section 5.1 of the Partial Strict Foreclosure Agreement and the other

consideration provided thereunder (such transfer by each of the Credit Parties and acceptance by

the Agent pursuant to the Partial Strict Foreclosure Agreement, the "Partial Strict Foreclosure").

        WHEREAS, on June 29, 2018 (the "Petition Date"), the above-captioned debtors (the

"Debtors") filed petitions for relief under chapter 7 of title 11 of the United States Code (the

"Bankruptcy Cod~") in the United States Bankruptcy Court for the District of Delaware (the

"Bankruptcx Court"). George L. Miller was app9inted as the interim chapter 7 trustee by the

Office of the United States Trostee (the "U.S. Trustee'').



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          WHEREAS, as of the Petition Date, the Debtqrs were and still are liable to the Claimant

on account of the Obligations arising under the Credit Documents, including the following:

(i) the aggregate outstanding principal amount of $566,890,806.2(); (ii) accrued and unpaid

interest in the aggregate amount of not Jess than $31,919,878.40, which amount continues to

accrue; (iii) unpaid fees in the aggregate amount of not less than $963, I 02.19;

(iv) reimbursement of costs and expenses, which continue to be incurred; (v) indemnification

obligations in an as yet undetermined amount; and (vi) any other obligations owed from time to

time by the Debtor under the Credit Documents.

          WHEREAS, on August 2, 2018, U.S. Bank filed a detailed proof of claim against each

of the Credit Party Debtors (collectively, the "!,!.S. Bank Claims") as detailed below:
                                                                                                                 -
                                                                                      Liquidated Unsecured
Case                                        Proof of     I.Jquldated Secured Claim as Claim as of Petition
                Debtor                      Claim No.    of Petltion Date: 1
Number                                                                                Date, in Excess of:3
                Education Management II                                                   $599,466,708.37
    18-11494                                 44             $308,928.42
                LLC
    18-11499    Education Finance III LLC    10             $308,928.42 .                 $599,466,708.37
                Education Management         15             $308,928.42                   $599,466,708.37
    18-11500
                Corporation
                Education Management         10             $308,928.42                   $599,466,708.37
    18-11501
                Holdings II LLC
                Higher Education Services    11             $308,928.42.                  $599,466,708.37
    18-11503
                fILLC
                South University Research    10             $308,928.42                   $599,466,708.37
    18-11513
                IILLC
                The Art Institutes           10             $308,928.42                   $599,466,708.37
    l&-11546
                International II LLC




2
  The amounts in the U.S. Bank Claims for the secured claim were overstated by $1,860 by inadvertently including
the assets of American Education Centers, Inc. {which is not a Credit Party) in the calculation of Collateral. The
error has been corrected in this chart.
3 The amoW1ts in the U.S. Bank Claims for the liquidated W1secured claim were understated by $1,860 by

inadvertently including the assets of American Education Centers, Inc. (which is not a Credit Party) in the
calculation of Collateral. The error has been corrected in this chart.


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         WHEREAS, <;>n August 3, 2018, the Trustee, in his capacity as interim tl'\lstee for all

Debtors, filed an omnibus objection to the U.S. Bank Claims [DJ. 163]4 (the "Qfilm

Objection").

         WHEREAS, on August 16, 2018, the Agent filed in the chapter 7 case for each of the

Credit Party Debtors (i) the Omnibus Response of U.S. Bank, National Association, to the

Objections qf Qeorge L. Miller, Interim Chapter 7 Trustee, to Proofs of Claim Filed by U.S.

Bank, National Association, in the Above-Captioned Debtors ' Cases [D .I. 171] (the "Claim

Jlesponse"), and (ii) the Motion by U.S. Bank for Resolution of Disputed Elections and for a

Determination that Edward E. Neiger be Appointed as Permanent Trustee in the Above-

Captioned Cases [D.I. 173] (the "Motion to Resolve Disputed Elections").

         WHEREAS, the Trustee has informally objected to the Motion to Resolve Disputed

Elections.

        WHEREAS, on or about August 22, 2018, the Trustee served the following discovery:

(i) George L. Miller's Deposition Notice of U.S. Bank National Association Pursuant to Fed. R.

Civ. P. 30(b)(6) [D.I. 178]; (ii) George L. Miller's First Set of Document Requests to U.S. Bank

National Association; (iii) George L. Miller's First Set of Document Requests to U.S. Bank

National Association relating to the Trustee Motion; (iv) Notice of Deposition of Edward E.

Neiger [D.I. 179); and (v) George L. Miller's First Set of Document Requests to Edward E.

Neiger (collectively, (i)- (v), the "Trustee Discovery").

        WHEREAS, the Parties have agreed to resolve the Claim Objection and the Motion to

Resolve Disputed Elections pursuant to the terms of this Stipulation.



4
 For purposes of this Stipulation, D.I. refers to the Docket in In re Education Management II LLC, Case No. 18-
11494 (LSS). Documents that were also filed on the other J;)ebtor's dockets are incorporated therein by reference.


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        NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED in

consideration of the mtJtual promises contained in this Stipulation, and for other gOQd and

valuable consideration, the receipt and sufficiency of which are hereby acknowledged, and both

Parties intending to be legally bound by this Stipulation, the Parties hereby agree as follows:

         1.      The Recitals set forth above are hereby incorporated herein by reference in full

and made a part of this Stipulation.

        2.       Solely for ptJrposes of recovery and/Qr distributions from the Credit Party

Debtors' estates:      (i) U.S. Bank shall have an allowed secured claim in the amount of

$308,928.42 against the Credit Party Debtors, which arc and shall     be jointly and severally liable

for s1ich allowed secured claim (the "Allowed Secured Claims"); (ii) U.S. Bank shall have an

allowed general µnsecured claim in the total amount of $599,466,708.37 against the Credit Party

Debtors, which are and shall be jointly and severally liable for such allowed unsecured claim (the

"Allowed Unsecured Claims", together, the "Allowed U.S. Bank Claims"); and (iii) the Allowed

U.S. Bank Claims shall be fixed and no interest or fees shall accrue thereon, For the avoidance

of doubt, notwithstanding the foregoing, in the event that all Allowed Secured Claims are

satisfied with the proceeds of Collateral (other than Surrendered Collateral), the Credit Party

Debtors shall remain obligated to turn over all Collateral (including the Surrendered Collateral)

or proceeds thereof to the Agent in accordance with paragraph 6 hereof.

        3.       U.S. l3ank holds a valid and enforceable first priority security interest in and

continuing lien on all of the Credit Party Debtors' right, title, and interest to and under all of the

Credit Party Debtors' assets other than (i) estate causes of action, if any, to the extent such

causes of action are "Commercial Tort Claims" (as defined in the New York Uniform




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Commercial Code § 9-102(a)(l3)), and (ii) causes of action, if any, under chapter 5 of the

Banl<nJptcy Code (tc;>gether, (i) and (ii), the "Unliened Assets").

         4.       The Trustee acknowledges the validity and enforceal;,ility of the Partial Strict

Foreclosure as to all '-1ssets of the Credit Party Debtors other than the Unliened Assets.

         5.      l)pon entry of an order of the Bankruptcy Court approving this Stipulation, the

TtVstce shall \)e entitled to 1.JSC of $375,000 of Collateral (the "Trustee Carvcout"); Q!QYided, that

(a) the Trustee Carveout shall be used solely to fund pn,>fessional fees and expenses of the Credit

Party I)ebtors' estates (including Trustee fees) that have been approved by the Bankn1ptcy

Cc;>urt; (b) Collateral in excess of $375,000, including such excess funds held in (i) that certain

Bank of America, N.A. account en<ling in numbers 893(? (the "BOA Account"), and (ii) that

certain PNC Bank, N.A. account ending in numbers 6594, shall be paid to the Agent and the

BOA Account shall be closed; (c) the Trustee Carveout shall not be used by the Trustee to

pursue any actions or interests adverse to the Agent and Lenders (other than the fees and

expenses incurred 1,)y the Trustee in connection with the entry and approval of this Stipulation,

the Claim Objection and the Motion to Resolve Dispute(} Elections); and (d) at the closing of the

Credit Party Debtors' cases, any portion of the Trustee Carveout that is remaining and is not

needed to fund approved professional fees an<J ex,penses of the Credit Party Oebtors' estates

(including Trustee fees) shall be promptly returned to the Agent.

        6.       Upon entry of an order of the Bankruptcy Court approving this Stipulation,

without any additional fee or carve-out (except for the Trustee Carveout set forth in the

immediately preceding paragraph), the Trustee shall (i) promptly turn over to U.S. Bank any and

all cash proceeds of Collateral (including any Surrendered Collateral) and any and all other cash

that is currently in the Trustee's possession, custody or control; (ii) without the need for any



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 request by the Agent, from time to time, (x) promptly provide the Agent with written notice

 when any cash or proceeds of Collateral (including any Surrendered Collateral) in the

possession, custody or control of the Trustee exceeds $25,000 in the aggregate, and (y) turn over

all such cash or proceeds to the Agent within ten (10) business days of such notice; and (iii) to

the extent requested \>y the Agent in writing from time to time, within ten (10) business days of

any such written req1,1est, turn over to U.S. Bank any other Collateral (including any Surrendered

Collateral) in the Trustee's possession. llpon request of the Agent, the Trustee shall hold all

Collateral that is cash, and all cash proceeds of any other Collateral, in a segregated bank account

at all times, with any bank fees for such accounts being paid from the res of such segregated

bank account.

        7.       Upon entry of an order of the Bankruptcy Court approving this Stipulation, any

distribution by the Trustee on account of the Allowed Unsecured Claims shall be made by the

Trustee at or before the closing of the Credit Party Debtors' cases using the following procedure:

                    a. the Trustee shall give ten days (10) notice of his intent to make a

                        distribution on account of the Allowed Unsecured Claims by filing a

                        ''Notice of Intention to Pay Allowed Unsecured Claim" and serving same

                        on the Agent (the "Payment Notice") and parties that have requested

                        notice pursuant to Rule 2002 of the Federal Rules of Bankruptcy

                        Procedure;

                    b. if no objections are filed in response to the Payment Notice, the Trustee

                        shall seek the entry of an order of the Bankruptcy Court authorizing such

                        distribution by certification of counsel, which order shall authorize such

                        distribution;



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                      c. if an objection is filed in response to the Payment Notice (any

                          "Objection"), the Agent or Lenders ri:tay seek to have a hearing on the

                          Payment Notice and Objection scheduled on shortened notice in

                          accordance with the Loqal Rules <Jf /Jankruptcy Practice and Procedure of

                          the United States Bankruptcy Court for th~ District of Delqware (the

                          "Local Rules 11); and

                      d. subject to the Trustee's fiduciary duties, the Trustee shall not oppose the
                          relief sought by, and shall cooperate with, the Agent or Lenders with

                          respect to such distributions and such hearing.

         8.      At such time as Trustee is to make any distrib1,1tions on accQunt of allowed

general unsecured claims (other than such distributions set forth in the immediately preceding

paragraph), the Trustee shall make pro rata, parl passu distributions to all holders of allowed

general unsecured claims (including the Agent on account of its AJlowed General Unsecured

Claims to the extent not previously paid to the Agent).

         9.      The Trustee hereby releases the Agent and Lenders and each of their respective

affiliates, directors, officers and professionals (including attorneys) in their capacity as such, as

the case may be, solely as it relates to the Obligations arising under the Credit Documents, any

remedies exercised or actions taken in connection therewith, including the Partial Strict

Foreclosure, and/or causes of action under chapter 5 of the Bankruptcy Code, if any. Nothing in

this paragraph or this Stipulation shall, or is intended to, release any claim that the Trustee, the

Debtors, the Agent or the Lenders had, have or may have against (i) Dream Center (as defined

below) or the United States Department of Education, or any of their respective current or former

directors, officers, employees, professionals, representatives, agents, successors or assigns, or



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(ii) any current or former director, officer, employee, professional, representative, agent,

successor or assign of the Debtors.

          10.   The Trustee agrees that the Agent and Lenders are entitled to take any and all

actions in connection with the Collateral, including collecting such Collateral, and, upon entry of

an order of the Bankruptcy Court approving this Stipulation, relief from the automatic stay

pursuant to secOon 362 of the Banl.Quptcy Code is granted to the Agent and the Lenders in this

regard.

          11.   StJbject to paragraph 6 hereof, the Trustee shall nqt collect any Collateral

(including any Surrendered Collateral), or any proceeds thereof~ provided, that the Agent may

request that the Tntstee collect, on behalf of the Agent or Lenders, any Collateral (including any

Surrendered Collateral), or proceeds thereof (such Collateral, the "Collection Collateral") in a

writing that specifically references this paragraph and identifies the Collection Collateral and to

the extent that the Agent and the Trustee agree on the terms and conditions relating to such

collection, the Trustee shall be entitled to collect the Collection Collateral in accordance with

such terms and conditions.

          12.   Throughout the pendency of the Credit Party Debtors' banknJptcy cases, to the

extent necessary for the Trustee to complete reporting necessary and/or appropriate for fulfilling

his duties required under the Bankruptcy Code and the Local Rules by the Bankruptcy Court and

the applicable U.S. Trustee guidelines, the Agent will provide reasonable cooperation with

respect to required information that is in the Agent's, but not the Trustee's actual possession,

custody, or control.

          13.   The Trustee shall regularly consult with the Agent (i) throughout the pendency of

the Debtors' bankruptcy cases, (ii) in retaining contingent fee counsel for any material litigation,



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including any litigation against the Debtors' directors and officers; (iii) prior to initiating and/or

settling any material liti~ation, including, 1;,ut not limitecJ to, causes of action under the Oebtors'

directors and officers insurance policies, any alleged commerc.ial tort claims and any actions

under chapter S of the Bankruptcy Code; and (iv) in connection with the development of strategy

to resolve any alleged claims Qf the Debtors against Dream Center Educati<;m Holdings, 1,,1,,C and

its affiliates, subsidiaries, successors and assigns (collectively, "Dream Center") that are not

Collateral; proviq~, h9wev~r, nothing herein shall grant the Trustee any rights with respect to

any ca1Jses of action that are not Unliened Assets. The Parties shall co<;>perate with respect to

cl<;>sing any open accounts at Bank of America, N.A., including the 80A Account.

         14.      The Trustee shall provide the Agent with reasonable access to the Debtors' books

and records during normal working hours in connection with t.he Agent's efforts to liquidate any

and all Collateral. The Agent shall reimburse the Trustee for any and all <;mt-of-pocket costs and

expenses incurred for access to the Debtors' books and records.

         15.      Upon entry of an order of the Bankruptcy Court approving this Stipulation, U.S.

Bank shall withdraw with prejudice the Motion to Resolve Trustee Election.

         J6.      Upon entry of the order of the Bankruptcy Court approving this Stipulation and

without any further action by the Trustee, the Trustee Discovery shall be deemed withdrawn with

prejl).dice.

         17.      This Stipulation shall be binding upon its approval by the Bankruptcy Cqurt, and

the Stipulation shall not     oe subject to any stay under the Bankruptcy Co<;le, the Federal Rules of
Bankruptcy Procedure, the LQcal Rules, or otherwise.




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         18.     Upon entry of an order of the Bankruptcy Court approving this Stipulation, the

Bankruptcy Court shall retain jurisdiction over any and all matters arising from or related to the

interpretation and/or implementation of this Stipulation and such order.

         19.     This Stipulation shall become effective upon entry of an order of the Bankruptcy

Court approving the terms hereof. The order of the Bankruptcy Court approving this Stipulation

shall be satisfactory to the Trustee and Agent in each of his and its respective sole discretion.




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       20.     This Stipulation may be executccj in counterparts, one or more of which may

contain electronic (in pdf format) signatures, all of which shall constitute an original agreement.

Dated: October Jf_, 2018

THE TRUSTEE
                                                                                  ---------
  ~.L
George L. Mill, solely in           capacity as    Mark L. Desgrosse111iers (Del. Bar No. 4083)
Chapter 7 Trustee fo1· the Non- re 1t Party        Nicholas T. Verna (Del. Bar No. 6082)
Debtors and the Credit Pa11y Debtors, and not      Womble Bond Dickinson (US) LLP
in any individual or other capacity                222 Delaware Avenue, Suite 1501
                                                   Wilmington, DE I980 I
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                                                   Facsimile: (302) 252-4330
                                                   Email: mark.desgrosseilliers@wbd-us.com
                                                   Email: nick.verna@wbd-us.com

                                                   -and-

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                                                   Counsel I<> U.S. Bank, N.A.
